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 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT TACOMA

10   DAVID T. GILCHRIST,                                No. 3:14-cv-5066

11                          Plaintiff,                  DEFENDANT’S NOTICE OF REMOVAL
                                                        OF ACTION PURSUANT TO
12           vs.                                        28 U.S.C. §§ 1331, 1367, 1441, AND 1446

13   CAPITAL ONE SERVICES, LLC,
                                                        (Removed from the Small Claims
14                          Defendant.                  Department, Cowlitz County District Court
                                                        Case No. 13 S 294)
15
              PLEASE TAKE NOTICE that defendant Capital One Services, LLC (“Capital
16
     One”), hereby removes to this Court the state-court action described below. In support of its
17
     removal, Capital One states as follows:
18

19                         I. INTRODUCTION AND STATEMENT OF FACTS

20            On December 27, 2013, plaintiff David T. Gilchrist filed a lawsuit in the Small Claims

21   Department, Cowlitz County District Court, Case No. 13 S 294. See, Declaration of Steven A.

22   Miller in Support of Defendant’s Notice of Removal, Exhibit A. Capital One has not been

23   served with a copy of Plaintiff’s Complaint. On January 21, 2014, counsel for Capital One


     DEFENDANT’S NOTICE OF REMOVAL – 1                                   GRAHAM & DUNN PC
                                                                        Pier 70 • 2801 Alaskan Way • Suite 300
                                                                            Seattle, Washington 98121-1128
                                                                          (206) 624-8300 • (206) 340-9599 Fax
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 1   contacted the Cowlitz County District Court and obtained a copy of the Claim filed against

 2   Capital One on December 27, 2013, which states claims of “state statutory violations and

 3   TCPA violations.” See, Declaration of Steven A. Miller, Exhibit A.

 4            On December 11, 2013, and December 19, 2013, Plaintiff filed two other separate

 5   complaints against Capital One with the Cowlitz County District Court, Small Claim Nos. 13

 6   S 282 and 13 S 286. On January 9, 2014, both actions were removed to the Western District

 7   of Washington (Tacoma), Case Nos. 3:14-cv-05020-RBL and 3:14-cv-05021-RBL. Both of

 8   Plaintiff’s previous complaints against Capital One alleged violations of the Telephone

 9   Consumer Protection Act (“TCPA”), 47 U.S.C. § 227. (Complaints ¶¶ 37-38.) The complaints

10   also alleged violations of the Fair Debt Collections Practice Act (FDCPA), 15 U.S.C.

11   §§ 1692d, 1692e(11), and the Washington Consumer Protection Act (“WCPA”), Wash. Rev.

12   Code §§ 19.86.020, 19.86.093, 19.16.250.        (Complaints ¶¶ 39-41, 42-47.) In this action

13   Plaintiff has not provided as much detail as in his first two complaints against Capital One,

14   but the Claim makes clear that Plaintiff again brings this action against Capital One for

15   violations of the Telephone Consumer Protection Act (“TCPA”).
16            Capital One files this Notice of Removal on January 23, 2014. The Notice of Removal
17   is timely filed under 28 U.S.C. § 1446(b) because it has been filed “within 30 days after the
18   receipt by the defendant, through service or otherwise, of a copy of the initial pleading setting
19   forth the claim for relief upon which such action or proceeding is based.” Id. //
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 1                                   II.    BASIS FOR REMOVAL

 2   A.       There Is Federal Question Jurisdiction Under 28 U.S.C. § 1331.

 3            This Court has original federal question jurisdiction over this action pursuant to 28

 4   U.S.C. § 1331. The TCPA, 47 U.S.C. § 227, is federal law, over which the federal courts have

 5   federal question jurisdiction. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 753 (2012).

 6   B.       There is Supplemental Jurisdiction Under 28 U.S.C. § 1367.

 7            This Court has supplemental jurisdiction over Plaintiff’s state law claims under 28

 8   U.S.C. § 1367, because Plaintiff’s allegations arise from and are part of the same case or

 9   controversy as the federal question. Therefore, this action is one which can be removed to this

10   Court by Capital One under 28 U.S.C. § 1441(a) and (c).

11   C.       Notice of Removal Was Timely Under 28 U.S.C. § 1446(b).

12            Capital One first received a copy of the Claim filed by Plaintiff no earlier than January

13   21, 2014. See, Declaration of Steven A. Miller, ¶ 2. This Notice of Removal, which has been

14   filed less than 30 days later, is thus timely under 28 U.S.C. § 1446(b).

15   D.       Capital One’s Notice of Removal Complies With the Applicable Local Rules and
16            Venue Is Proper in the Western District of Washington Under 28 U.S.C. § 128(b).
17            This Notice of Removal complies with all applicable Federal Rules of Civil Procedure
18   and Local Rules. Venue is proper in this District under 28 U.S.C. §§ 128(b) and 1441(a)
19   because this District encompasses Cowlitz County, wherein Plaintiff filed the state court
20   action being removed. Capital One is serving Plaintiff with copies of this Notice of Removal
21   and will serve notice of the removal upon the Clerk of the Court in the Small Claims
22   Department, Cowlitz County District Court.
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 1            Capital One expressly reserves its right to raise all defenses and objections to

 2   Plaintiff’s claims after the action is removed to this Court.

 3            DATED this 23rd day of January, 2014.

 4
                                                    GRAHAM & DUNN PC
 5

 6                                               By:        s/ Steven A. Miller
                                                       Steven A. Miller, WSBA # 30388
 7                                                     Email: smiller@grahamdunn.com

 8                                                     Attorneys for Defendant Capital One
                                                       Services, LLC
 9                                                     Pier 70
                                                       2801 Alaskan Way, Suite 300
10                                                     Seattle, WA 98121-1128
                                                       Telephone: (206) 624-8300
11                                                     Facsimile: (206) 340-9599

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 1                                   CERTIFICATE OF SERVICE

 2             The undersigned certifies under the penalty of perjury under the laws of the State of

 3    Washington that I am now and at all times herein mentioned, a citizen of the United States, a

 4    resident of the State of Washington, over the age of eighteen years, not a party to or interested

 5    in the above-entitled action, and competent to be a witness herein.

 6             On the date given below I caused to be served the foregoing DEFENDANT’S

 7    NOTICE OF REMOVAL OF ACTION PURSUANT TO 28 U.S.C. 1331, 1367, 1441, AND

 8    1446 on the following individuals in the manner indicated:

 9    David T. Gilchrist
      457 21st Avenue
10    Longview, WA 98632

11    (X) Via U.S. Certified & First Class Mail
      ( ) Via Facsimile
12    ( ) Via Hand Delivery
      ( ) Via ECF
13

14             SIGNED this 23rd day of January, 2014, at Seattle, Washington.

15                                                         s/ Valerie K. Losey
                                                    Valerie K. Losey, Legal Assistant
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